        Case 8:05-cr-00040-SDM-MAP Document 130 Filed 09/12/05 Page 1 of 6 PageID 198
A 0 235B (Rev 12/03) Sheet 1 - Judgment in a Crimin;il Case


                             UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8:05-cr-40-T-23MAP
                                                               USh,! NUMBER: 42637-018



DAVID PORTUGAL CKUZ
                                                               Defendant's Atto~ncy: Linda Thompson. cja

THE DEFENDANT:

X pleaded guilty to counts Oh% and TWO of h e Indictment.
-

TITLE & SECTION                               NATURE OF OFFENSE                          OFFENSE EhTDED             -
                                                                                                                    CO

46 Appendix, U.S.C. $8 1903(a)                Aided and Abetted in the Possession        January 26, 2005           ONE
and 1903(g); 18 U.S.C. $ 2;                   With Intent to Distribute 5 Kilograms
and 2 1 U.S.C. 3 960(b)(l)(B)(ii)             or more of Cocaine While Aboard a
                                              Vessel Subject to the Jurisdiction ol'
                                              ~ h cUnited States

46 Appendix, U.S.C. $§ 1903(a),               Conspiracy to Possess with Intent to       January 26, 2005           TWO
1903(g), and 1903Q); and 21 U.S.C.            Distribute Five Kilograms or More of
$ 960(b)(l)(B)(ii)                            Cocaine While Aboard a Vessel Subject
                                              to the Jurisdiction of the United States

        The defendant is sentenced as provided in pagcs 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney Tor this district within 30 days of any change
of name, residence, or mailing address until all l'incs, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the coun and United Slates Attorney of any material change in cconomic
circumstances.


                                                                                 Date of Imposition of Sentence: Septenlber 8. 2005




                                                                                     STEVEN D. MERRYDAY                        1
                                                                                 UNITED STATES DISTRICT JUDGE

                                                                                 DATE: September     %.2005
        Case 8:05-cr-00040-SDM-MAP Document 130 Filed 09/12/05 Page 2 of 6 PageID 199
A 0 245B (Rev 12/03) Sheet 2 - Imprisomlsnt
Defendant :       DAVID PORTUGAL CRUZ                                                                       Judgment - Page 1of 6
Case No.:         8:05-cr40-T-23MAP




                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED EIGHTY-EIGHT (188) MONTHS as to coullts one and two of the
Indictnie~lt,both terms to run concurrently.




-
X The court makes [he following recommendations to the Bureau of Prisons: that ihc defendanc be placed in FCI Texarkana,
Texas, or as near there as possible.



X The defendant is remanded to the custody of the United States Marshal.
-
- The defendant shall surrender to the United States Marshal for this disuict.
          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.

- The drti.nd;~ntshall surrender for service of'scntc~~cc
                                                       at the institution designated by the I3ureau of Prisons.

          - before 2 p.m. on -.
          - as notilied by the United States hlarshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to

at                                                                      . with a certitlcd copy of this judgment.

                                                                                        United States Marshal

                                                                     By:
                                                                     Deputy Marshal
       Case 8:05-cr-00040-SDM-MAP Document 130 Filed 09/12/05 Page 3 of 6 PageID 200
A 0 245B (Rev. 12/03) Shra 3 - Supervised Release

Defendant :       D.4VID PORTUGAL CRUZ                                                                      Judgment - Page 3 of 6
Case No.:         8:05-cr40-T-23blAP

                                                       SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) 11ONTNS as to
counts one a n d two, both terrils to r u n concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supernised rolease, the defendcult shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C.8 92 1.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X        The defendanr shall cooperate in the collection of DNA as directed by the probation officer.

        If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
         the dcfcndant shall not lcave the judicial district without the pernlission of the court or probation officer:

         the defendant shall report to the probation officer and shall submit a truthf~dand complctc written report within the first five days
         of each month:

         the defendant shall answer truthfully all inquirics by the probation officcr and follow the instructions of the probation officcr:

         the dcfcndant shall support his or her dependents and meet other family rcsponsibilities:

         the defendant shall work regularly at a lawful occupation, unless excused by thc probation officcr for schooling, training, or other
         acceptable reasons:

         the dcfcndant shall notify thc probation officer at least ten days prior to any changc in residence or cmploymcnt;

         the defendant shall refrain from excessive ilsc of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substancc or any paraphernalia rclatcd to any controlled substances. except as prcscribcd by a physician;
         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

         the defendant shall not associate with any persons cngaged in criminal activity and shall not associate with any person convictcd of
         a fclony, unless granted pcrrnission to do so by the probation officcr;

         thc dcfcndant shall permit a probation officcr to visit him or hcr at any tinic at homc or elsewhcrc and shall pcrmit confiscation of
         any contraband obscnfcd in plain vicw of the probation officer:

         the defendant shall notify the probation officcr within seventy-two hours of bcing arrested or qucstioncd by a law cnforcemcnt
         officcr;
         the dcfcndant shall not cntcr into any agreement to act as an informer or a spccial agcnt of a law enforcement agency without the
         pcrmission of the court;
         as dlrcctcd by the probation officer, the defendant shall notifythird parties of risks that may be occasioned by thc defcndant's criminal
         record or personal history or characteristics and shall pernit thc probation officcr to makc such notifications and to confirm the
         dcfcndant's compliance with such notification rcquirenient.
       Case 8:05-cr-00040-SDM-MAP Document 130 Filed 09/12/05 Page 4 of 6 PageID 201

A 0 245B (Rev. 12/03) Sheet 3C - Suprrvised Release

Defendant:        DAVID PORTUGAL CRUZ                                                                 Judgment - Page 4 of 6
Case No. :        8:OS-cr-40-T-23hlAP
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the Ibllowing additional conditions of supervised release:

-
X        If the defendant is deponed, he shall not re-enter the United States without the express permission of the appropriate
         governmental aurhority   .
       Case 8:05-cr-00040-SDM-MAP Document 130 Filed 09/12/05 Page 5 of 6 PageID 202
A 0 245B (Rev 12/03) Sheet 5   - Criminal Monetary Penalties
Defendant:         DAVID PORTUGAL CRUZ                                                     Judgment - Page 5 of 6
Case No.:          8:05-cr-40-T-23MAP

                                            CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           tissessment                          -
                                                                Fiue                       Total Restilutio~i

         Totals:           $200.00                              $ waived                   $


-        The determination of restitution is deferred until -.           An Anlended J~cdg111e111
                                                                                              i11 a Crin~i~lal
                                                                                                            Case ( A 0 2432) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or-percentage pa ent column below. However, pursuant to 18 U.S.C. 5
         3664(i), all non-federal victims must be pald before the g t e d States.
                                                                                                             I'rioritg Order or
                                                 *Total                     Amount of                        Percentage of
Name of Pavee                                  Amount of Loss            Restitution Ordcred                 Payment




                           Totals:             $..-                      L
 -        Restitution amount ordered pursuant to plea agreement      S
 -        The defendant shall pay interest on any fine or restitution of more than $2.500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. $3612(f). All of the payment options on Sheet
                                                                f
          6 may be subject to penalties for delinquency and de auk, pursuant to 18 U.S.C. 4 3612(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - line       - restitution.

         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1IOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
       Case 8:05-cr-00040-SDM-MAP Document 130 Filed 09/12/05 Page 6 of 6 PageID 203
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        DAVID PORTUGAL CRUZ                                                                Judgment - Page 6of 6
Case No.:         8:05-cr-40-T-23MAP


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                    ,   or
                            - in accordance - C , - D. - E or - F below: or
B.       -         Pay~nentto begin immediately (may be combined with -C. -D, or -F below); or
C.       -        Payment in equal                 (e.g., weekly. monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                      weekly, monthly, quarterly) installments of S             over a
                  period of                             "'8
                                        , (e.g ., mon s or years) to commence
                  release from imprisonment to a term of supervision: or
                                                                                               (e.g. 30 or 60 days) after

E.       -        Payment during the term of supervised release will commence within                        (e.g., 30 or
                  60 days) af~errelease from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of irn risonment, payment of criminal
          penalties is due during im risonment. All criminal monetary penalties. except t lose a menrs made through the
                                        F
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o!ti e court.
mOneta%
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest, (4) tine principal,
(5) comn~unityrestitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
